            Case 3:17-cv-00107-JMM Document 10 Filed 02/03/17 Page 1 of 9




                        IN THE UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF PENNSYLVANIA


Lani Polkowski                                        :          CIVIL ACTION
                                                      :
                               Plaintiff              :
                vs.                                   :          NO.: 3:17-cv-107
                                                      :
Target Corporation, Bottling Group, LLC,              :
Bottling Group, LLC d/b/a Pepsi Beverages             :
Company and PepsiCo Bottling Group, LLC               :
                                                      :
                               Defendants             :


  DEFENDANT, TARGET CORPORATION'S ANSWER PLAINTIFF'S COMPLAINT
                   WITH AFFIRMATIVE DEFENSES

       Defendant, Target Corporation, by and through its counsel, Marshall, Dennehey, Warner,

Coleman and Goggin, hereby answer Plaintiff's Complaint as follows:

       1.     Denied.     After reasonable investigation, Answering Defendant lacks sufficient

knowledge and information to form a belief as to the truth or falsity of the allegation contained

within this paragraph of Plaintiff's Complaint. Accordingly, these allegations are denied and

deemed at issue, with strict proof of same demanded at time of trial.

       2.     Admitted.

       3.     Denied. The allegations contained within this paragraph are directed to a party or

parties other than Answering Defendant. Accordingly these allegations are denied and deemed

at issue, with strict proof of same demanded at time of trial.

       3.       (sic)   Denied. The allegations contained within this paragraph are directed to a

party or parties other than Answering Defendant. Accordingly these allegations are denied and

deemed at issue, with strict proof of same demanded at time of trial.
            Case 3:17-cv-00107-JMM Document 10 Filed 02/03/17 Page 2 of 9




       4.       Denied. The allegations contained within this paragraph are directed to a party or

parties other than Answering Defendant. Accordingly these allegations are denied and deemed

at issue, with strict proof of same demanded at time of trial.

       5.       Admitted in part; denied in part. Answering Defendant admits that it owns and

operates a Target store located at 1140 Commerce Boulevard, Dixon City, Lackawanna County,

PA. All remaining allegations contained within this paragraph constitute conclusions of law to

which no responsive pleading is required.

       6.       Denied. The allegations contained within this paragraph constitute conclusions of

law to which no responsive pleading is required.          To the extent these allegations can be

construed as being of a factual nature, then these allegations are denied for lack of knowledge,

deemed at issue, with strict proof of same demanded at time of trial.

       7.       Denied. The allegations contained within this paragraph are directed to a party or

parties other than Answering Defendant. Accordingly these allegations are denied and deemed

at issue, with strict proof of same demanded at time of trial.

       8.       Denied. The allegations contained within this paragraph are directed to a party or

parties other than Answering Defendant. Accordingly these allegations are denied and deemed

at issue, with strict proof of same demanded at time of trial.

       9.       Denied. The allegations contained within this paragraph constitute conclusions of

law to which no responsive pleading is required.          To the extent these allegations can be

construed as being of a factual nature, then these allegations are denied for lack of knowledge,

deemed at issue, with strict proof of same demanded at time of trial.
          Case 3:17-cv-00107-JMM Document 10 Filed 02/03/17 Page 3 of 9




                                            COUNT I
                                Plaintiff v. Target Corporation

         10.   This is a paragraph of incorporation to which no responsive pleading is required.

         11.   (a-h). Denied.      The allegations contained within this paragraph and

subparagraphs constitute conclusions of law to which no responsive pleading is required. To the

extent these allegations can be construed as being of a factual nature, then these allegations are

denied for lack of knowledge, deemed at issue, with strict proof of same demanded at time of

trial.

         12.   Denied. The allegations contained within this paragraph constitute conclusions of

law to which no responsive pleading is required.        To the extent these allegations can be

construed as being of a factual nature, then these allegations are denied for lack of knowledge,

deemed at issue, with strict proof of same demanded at time of trial.

         13.   Denied. The allegations contained within this paragraph constitute conclusions of

law to which no responsive pleading is required.        To the extent these allegations can be

construed as being of a factual nature, then these allegations are denied for lack of knowledge,

deemed at issue, with strict proof of same demanded at time of trial.

         14.   Denied. The allegations contained within this paragraph constitute conclusions of

law to which no responsive pleading is required.        To the extent these allegations can be

construed as being of a factual nature, then these allegations are denied for lack of knowledge,

deemed at issue, with strict proof of same demanded at time of trial.

         15.   Denied. The allegations contained within this paragraph constitute conclusions of

law to which no responsive pleading is required.        To the extent these allegations can be

construed as being of a factual nature, then these allegations are denied for lack of knowledge,

deemed at issue, with strict proof of same demanded at time of trial.
          Case 3:17-cv-00107-JMM Document 10 Filed 02/03/17 Page 4 of 9




         16.    Denied. The allegations contained within this paragraph constitute conclusions of

law to which no responsive pleading is required.           To the extent these allegations can be

construed as being of a factual nature, then these allegations are denied for lack of knowledge,

deemed at issue, with strict proof of same demanded at time of trial.

         WHEREFORE, Answering Defendant, Target Corporation, demands judgment in its

favor against all parties, together with interest, cost and attorneys' fees.

                                             COUNT II
                                 Plaintiff v. Bottling Group, LLC

         17.    This is a paragraph of incorporation to which no responsive pleading is required.

         18.    (a-h). Denied.       The allegations contained within this paragraph and

subparagraphs are directed to a party or parties other than Answering Defendant. Accordingly

these allegations are denied and deemed at issue, with strict proof of same demanded at time of

trial.

         19.    Denied. The allegations contained within this paragraph are directed to a party or

parties other than Answering Defendant. Accordingly these allegations are denied and deemed

at issue, with strict proof of same demanded at time of trial.

         20.    Denied. The allegations contained within this paragraph are directed to a party or

parties other than Answering Defendant. Accordingly these allegations are denied and deemed

at issue, with strict proof of same demanded at time of trial.

         21.    Denied. The allegations contained within this paragraph are directed to a party or

parties other than Answering Defendant. Accordingly these allegations are denied and deemed

at issue, with strict proof of same demanded at time of trial.
          Case 3:17-cv-00107-JMM Document 10 Filed 02/03/17 Page 5 of 9




        22.     Denied. The allegations contained within this paragraph are directed to a party or

parties other than Answering Defendant. Accordingly these allegations are denied and deemed

at issue, with strict proof of same demanded at time of trial.

        23.     Denied. The allegations contained within this paragraph are directed to a party or

parties other than Answering Defendant. Accordingly these allegations are denied and deemed

at issue, with strict proof of same demanded at time of trial.

        WHEREFORE, Answering Defendant, Target Corporation, demands judgment in its

favor against all parties, together with interest, cost and attorneys' fees.

                                FIRST AFFIRMATIVE DEFENSE

        Plaintiff's Complaint fails to state a cause of action against answering defendant upon

which relief can be granted.

                               SECOND AFFIRMATIVE DEFENSE

        Plaintiff was comparatively negligent.

                               THIRD AFFIRMATIVE DEFENSE

        Plaintiff was contributorily negligent.

                               FOURTH AFFIRMATIVE DEFENSE

        Plaintiff assumed the risk of her injuries.

                               FIFTH AFFIRMATIVE DEFENSE

        If the accident occurred as alleged, a fact denied by answering defendant, the plaintiff's

injuries or damages were caused and/or substantially contributed to by individuals or entities

over which answering defendants had no control.

                               SIXTH AFFIRMATIVE DEFENSE

        Any defect on the property was trivial or de minimus.
            Case 3:17-cv-00107-JMM Document 10 Filed 02/03/17 Page 6 of 9




                            SEVENTH AFFIRMATIVE DEFENSE

       Any defect on the property in question was open and obvious.

                               EIGHTH AFFIRMATIVE DEFENSE


       Answering defendant had no actual or constructive notice of any defect on the property in

question.

                               NINTH AFFIRMATIVE DEFENSE

       No act or omission of answering defendant was the factual cause of any injuries or

damages to plaintiff.

                               TENTH AFFIRMATIVE DEFENSE

       Plaintiff's Complaint may be barred by the applicable Statute of Limitations.

                           ELEVENTH AFFIRMATIVE DEFENSE

       Plaintiff failed to mitigate her damages.

                               TWELTH AFFIRMATIVE DEFENSE

       Plaintiff's injuries, if any, are not causally related to the alleged accident.

                        THIRTHEENTH AFFIRMATIVE DEFENSE

       Plaintiff's injuries and/or damages, if any, were the result of pre-existing medical and

physical conditions.

                         FOURTEENTH AFFIRMATIVE DEFENSE

       The occurrence complained of was neither intended, foreseeable nor preventable by the

exercise of reasonable care.

                          FIFTHEENTH AFFIRMATIVE DEFENSE

       Plaintiff's claims are barred and/or limited by the Pennsylvania Supreme Court holding in

Moorehead v. Crozer Chester Medical Center.
          Case 3:17-cv-00107-JMM Document 10 Filed 02/03/17 Page 7 of 9




                           SIXTHEENTH AFFIRMATIVE DEFENSE

        Plaintiff's injuries and/or damages, if any, were caused by Plaintiff's own carelessness

and negligence in:

                     a. Failing to keep a careful and diligent watch where she was walking;

                     b. Failing to walk carefully;

                     c. Failing to pay attention to her surroundings and conditions that were open
                        and obvious;

                     d. Failing to observe the conditions around her;

                     e. Being otherwise distracted;

                     f. Failing to watch out for her own well-being; and,

                     g. Wearing improper footwear.


        WHEREFORE, Answering Defendant, Target Corporation, demands judgment in its

favor against all parties together with interest, cost and attorneys' fees.

                                                MARSHALL DENNEHEY WARNER
                                                COLEMAN & GOGGIN




                                        BY:
                                                DANIEL D. KREBBS, ESQUIRE

Date: 2/2/17
            Case 3:17-cv-00107-JMM Document 10 Filed 02/03/17 Page 8 of 9




                                 CERTIFICATE OF SERVICE

       1.       I, Daniel D. Krebbs, Esquire, hereby certify that a true and correct copy of the

foregoing Defendant, Target Corporation's Answer to Plaintiffs' Complaint with Affirmative

Defenses was served on all parties listed below via the court's electronic filing system.

                                      Bruce S. Zero, Esquire
                                           Powell Law
                                        527 Linden Street
                                       Scranton, PA 18503




                                      DANIEL D. KREBBS, ESQUIRE
          Case 3:17-cv-00107-JMM Document 10 Filed 02/03/17 Page 9 of 9




                                         VERIFICATION

         Daniel D. Krebbs, Esquire, attorney for Defendant, Target Corporation, verifies that the

facts set forth in the foregoing Defendant, Target Corporation's Answer To Plaintiff's Complaint

with Affirmative Defenses, are true to the best of his knowledge, information and belief. If the

above statements are not true, the deponent is subject to the penalties of 18 Pa.C.S. §4904

relating to unsworn falsification to authorities.




                                       BY:
                                               DANIEL D. KREBBS, ESQUIRE


Dated:     02/02/17
